3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 1 of 21

                                 Thomas Affidavit Exhibit A
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 2 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 3 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 4 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 5 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 6 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 7 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 8 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 9 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 10 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 11 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 12 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 13 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 14 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 15 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 16 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 17 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 18 of 21
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 19 of 21
                  3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 20 of 21




 Thomas Affidavit Exhibit E
Thomas       Affidavit Exhibit E
3:14-cv-03577-CMC   Date Filed 07/12/16   Entry Number 205-2   Page 21 of 21
